Where no error of law has been committed upon the trial, and the verdict, which has the approval of the trial judge, is supported by evidence, appellate courts will not interfere.  Davis v. Peek, 43 Ga. App. 200 (8) (158 S.E. 348);  Chapman v. State, 25 Ga. App. 239 (2) (103 S.E. 414);  Waters v. State, 32 Ga. App. 416 (123 S.E. 722);  Adams v. State, 34 Ga. App. 145 (5) (128 S.E. 924);  Pilgrims Health  Life Insurance Co. v. Smith, 41 Ga. App. 287
(2) (152 S.E. 592).
                        DECIDED OCTOBER 8, 1947.
David G. Fairley filed a bail-trover action against Mrs. G. H. C. Vaughn, alias Mrs. J. H. James, in the Civil Court of Fulton County, for certain described personal property consisting principally of household furniture, in which he alleged he owned said property and was entitled to its possession; that the same was in possession of Mrs. Vaughn, and that prior to the commencement of his action he had demanded the same of her. Mrs. Vaughn, alias Mrs. James, filed an answer admitting possession, but denying the property belonged to Fairley; on the other hand, she contended that the same belonged to her, she having purchased said property from Mrs. Mildred Fairley, her daughter, and the former wife of David G. Fairley.
The case came on regularly to be heard on June 18, 1947, before the Honorable J. Wilson Parker, without the intervention of a jury. On the trial of the case, evidence was introduced on behalf of both parties. The same was in conflict. Without detailing *Page 769 
the evidence, it is enough to say that the same was sufficient to have authorized a finding in favor of either party. Judge Parker entered a judgment in said cause finding in favor of Fairley. Thereupon Mrs. Vaughn filed a motion for new trial on the general grounds only. The same came on for hearing before Judge Parker and on July 16, 1947, he entered a judgment overruling the motion for new trial, on which error is assigned.
The trial court heard this case on all issues of both law and facts. The evidence, although in sharp conflict, was sufficient to have supported a finding in favor of either party. The judge, as fact-finding tribunal, found in favor of the defendant in error. The same judge heard the motion for new trial, and there, by overruling it, approved his previous findings of fact.
Where no error of law has been committed upon the trial, and the verdict, which has the approval of the trial judge, is supported by evidence, appellate courts will not interfere.Davis v. Peek, 43 Ga. App. 200 (8), Chapman v. State,25 Ga. App. 239 (2), Waters v. State, 32 Ga. App. 416,Adams v. State, 34 Ga. App. 145 (5), and Pilgrims Health Life Insurance Co. v. Smith, 41 Ga. App. 287 (2) (supra).
The judgment of the trial court overruling the motion for new trial is without error.
Judgment affirmed. MacIntyre, P. J., and Gardner, J.,concur.